               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

MARCIA G. FLEMING, CASEY                    CIVIL ACTION FILE NO:
FREEMAN, DAVID GUYON,
ANTHONY LOSCALZO, PATRICK
ROSEBERRY, and JULIO
SAMANIEGO individually, on behalf of
the Rollins, Inc. 401(k) Savings Plan and
on behalf of all similarly situated
participants and beneficiaries of the
Plan,
      Plaintiffs,
v.
ROLLINS, INC.; THE
ADMINISTRATIVE COMMITTEE OF
THE ROLLINS, INC. 401(k) SAVINGS
PLAN; ALLIANT INSURANCE
SERVICES, INC.; ALLIANT
RETIREMENT SERVICES, LLC; LPL
FINANCIAL LLC; PAUL E.
NORTHEN, JOHN WILSON, JERRY
GAHLHOFF, JAMES BENTON and A.
KEITH PAYNE in their capacities as
members of the Administrative
Committee; and John and Jane Does 1-
10,

      Defendants.


                       CLASS ACTION COMPLAINT




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      COME NOW Plaintiffs Marcia G. Fleming, Casey Freeman, David Guyon,

Anthony Loscalzo, Patrick Roseberry, and Julio Samaniego (collectively

“Plaintiffs”), by and through the undersigned counsel, and individually, on behalf of

the Rollins, Inc. 401(K) Savings Plan (the “Rollins Plan”) or (the “Plan”), and on

behalf of all similarly situated participants and beneficiaries of the Rollins Plan,

bring this action against Defendants Rollins, Inc., the Administrative Committee of

the Rollins Plan (the “Administrative Committee”), Alliant Insurance Services, LLC

(“AIS”), Alliant Retirement Services, Inc (“ARS”), LPL Financial LLC (“LPL”), ,

and Paul E. Northen, John Wilson, Jerry Gahlhoff, James Benton and A. Keith

Payne, in their capacities as members of the Administrative Committee (collectively,

the “Administrative Committee”), and John and Jane Does 1-10 (collectively,

“Defendants”) for equitable relief under the Employee Retirement Income Security

Act, 29 U.S.C. § 1001, et. al (“ERISA”), and allege as follows:


                                I.    OVERVIEW

      1.     This class action seeks damages as a result of Defendants’ alienation of

the trust of the Rollins Plan’s participants/beneficiaries, and dissipation of the

Rollins Plan assets in violation of ERISA 29 U.S.C. § 1001, et. al, the Plan’s

documents, and Defendants’ fiduciary duty to the Plan’s participants and

beneficiaries which required them to act “solely in the interest of the plan’s

participants” and “for the exclusive purpose of providing benefits to participants,”

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29 U.S.C. 1104(a)(1)(A).

      2.     The participants/beneficiaries are filing this action as representatives of

the Plan and Trust under ERISA § 502 and they are all similarly situated with the (1)

same fiduciaries, (2) the same trust, (3) same covered service providers (CSP), (4) same

list of investment choices, (5) for every year of their employment and (6) based on the

Defendants’ Annual Return/Report of Employee Benefit Plan for plan years 2009 to

2020 (based on Defendants’ government reports to U.S. Departments of Treasury and

Labor at www.efast.dol.gov).

      3.     The Plan is a trust and the holder of all assets. The individual

participants and beneficiaries merely hold a bookkeeping record, not the individual

investments themselves. The decisions on what investments are held in the trust are

voted on and made solely by the Administrative Committee members and while

these decisions were made on behalf of the trust, they affected all participants and

beneficiaries.

                                  II.    PARTIES

      4.     Plaintiff Marcia G. Fleming (“Fleming”) was an employee of Rollins,

Inc. between 2017 and 2019. Despite leaving her employment with Rollins in

February 2019, Fleming remains a participant/beneficiary in the Rollins Plan.

Fleming is, and was at all times relevant to this Complaint, a resident of the state of

Georgia.


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      5.     Plaintiff Casey Freeman (“Freeman”) was, an employee of Rollins, Inc.

between 2013 and 2019 and a participant/beneficiary in the Rollins Plan.

      6.     Plaintiff David Guyon (“Guyon”) was, an employee of Rollins, Inc.

between 2008 and 2020 and a participant/beneficiary in the Rollins Plan.

      7.     Plaintiff Anthony Loscalzo (“Loscalzo”) was an employee of Rollins,

Inc. between 2012 and 2020 and a participant/beneficiary in the Rollins Plan.

      8.     Plaintiff Patrick Roseberry (“Roseberry”) was an employee of Rollins,

Inc. between 2010 and 2016 and a participant/beneficiary in the Rollins Plan.

      9.     Plaintiff Julio Samaniego (“Samaniego”) was an employee of Rollins,

Inc. between 2007 and 2018 and a participant/beneficiary in the Rollins Plan.

      10.    Defendant Rollins, Inc. (“Rollins”) is, and was at all times relevant to

this Complaint, a corporation formed under the laws of the State of Delaware and

having its principal place of business at 2170 Piedmont Road NE, Atlanta, Georgia,

30324.

      11.    Defendant, the Administrative Committee of the Rollins Plan (the

“Administrative Committee”) is responsible for the administration of the Rollins

Plan, including determining the eligibility for participation and for benefits, directing

the Rollins Plan’s trustee to pay benefits, and interpreting provisions of the Rollins

Plan, determining what constitutes a reasonable expense of administering the Rollins

Plan, determining whether such expenses shall be paid from the Rollins Plan’s Trust,


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charging against Rollins Plan accounts such reasonable administrative fees as may

be established from time to time, and interpreting the Rollins Plan. The Rollins

Committee is a fiduciary to the Rollins Plan to the extent it was delegated the

function of Plan Administrator and both had and exercised discretionary authority,

control, and/or responsibility respecting the management and/or administration of

the Rollins Plan and control over Rollins Plan assets. 29 U.S.C. §1002(21)(A).

      12.   Defendant, the Administrative Committee is also responsible for the

selection, monitoring, and retention of Rollins Plan investment options, and has

express discretionary authority and control respecting management of the Rollins

Plan and Rollins Plan assets.

      13.   Defendants Paul E. Northen, John Wilson, Jerry Gahlhoff, James

Benton and A. Keith Payne (collectively, the “Committee Members”) were members

of the Administrative Committee during the Class Period, or successors of those who

were members during the Class Period, and, as such, were fiduciaries of the Plan

under ERISA under 29 U.S.C. §1002(21)(A) to the extent that they exercised

discretionary authority or discretionary control respecting the administration or

management of the Plan, or exercised authority or control respecting the

management or disposition of the Plan’s assets.

      14.   Defendant Alliant Insurance Services, Inc. is, and was at all times

relevant to this Complaint, a foreign corporation licensed to do business in Georgia


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and its registered agent is Corporation Service Company, 2 Sun Court, Suite 400,

Peachtree Corners, Georgia, 30092.

      15.   Defendant Alliant Retirement Services, LLC is, and was at all times

relevant to this Complaint, a foreign corporation licensed to do business in Georgia

and its registered agent is Corporation Service Company, 2 Sun Court, Suite 400,

Peachtree Corners, Georgia, 30092.

      16.   Defendant LPL Financial LLC is, and was at all times relevant to this

Complaint, a foreign corporation licensed to do business in Georgia and its

registered agent is CT Corporation System, 289 S Culver St, Lawrenceville, GA,

30046.

      17.   Defendants John and/or Jane Does 1-10 as members of the

Administrative Committee during the Class Period, are fiduciaries to the Plan

because they exercised discretionary authority or discretionary control respecting

the management of the Plan or exercised authority or control respecting the

management or disposition of its assets, and have or had discretionary authority or

discretionary responsibility in the administration of the Plan. 29 U.S.C.

§1002(21)(A).

                     III.   JURISDICTION AND VENUE

      18.   This Court has original and exclusive jurisdiction over the subject

matter of this ERISA action under 28 U.S.C. §1331 and 29 U.S.C. §1132(e)(1).


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      19.    Venue is proper in this District under 29 U.S.C. §1132(e)(2) and 28

U.S.C. §1391(b) because it is the district in which the Plan is administered, where at

least one of the alleged breaches took place, and where at least one Defendant

(Rollins) resides.

                     IV.   CLASS ACTION ALLEGATIONS

      20.    Plaintiffs bring this action on their own behalf and, pursuant to the

provisions of the Federal Rules of Civil Procedure, on behalf of a class of all others

similarly situated, defined as follows:

      All current and former employees of Rollins who participated in the Rollins

      Plan on or after January 1, 2008 through the date of judgment, including their

      beneficiaries but excluding Defendants.

      21.    The requirements for maintaining this action as a class action under

Rule 23(b)(l) and (b)(2), Federal Rules of Civil Procedure, are satisfied in that:

      (a) the Class is large in number; the exact number and identities of all

      members of the Class are currently unknown to Plaintiffs but are well known

      to Defendants. The number of members of the Class is believed to be no less

      than 100;

      (b) The members of the Class are so numerous that joinder of all members is

      impracticable;

      (c) There are questions of law common to all members of the Class, including


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but not limited to whether Defendants violated and continue to violate ERISA

by, inter alia: (i) failing to prudently select, monitor, and retain Plan

fiduciaries, Plan service providers, and Plan investments; (ii) failing to follow

the terms of the Plan and ERISA; (iii) engaging or causing the Plan to engage

in transactions prohibited by ERISA; and (iv) failing to diversify Plan

investments.

(d) Plaintiffs are a member of the Class as defined above; their claims are

typical of the claims of the members of the Class and they will fairly and

adequately protect the interests of the Class.         Plaintiffs’ interests are

coincidental with, and not antagonistic to those of the remainder of the Class,

and they are represented by experienced ERISA counsel.

(e) The prosecution of separate actions by individual members of the Class

would create the risk of inconsistent or varying adjudications establishing

incompatible standards of conduct for Defendants, and a risk of adjudications

which as a practical matter would be dispositive of the interests of other

members of the Class who were not parties; and

(f) Defendants have acted and/or refused to act and are likely to act and/or

refuse to act on grounds generally applicable to the Class, thereby making

appropriate final injunctive and other equitable relief with respect to the Class

as a whole.


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      22.    All conditions precedent to bringing this action have been satisfied or

waived.

      23.    The identity and precise number of the Class Members should be

readily available from the Rollins, Inc. 401(K) Savings Plan’s records.

      24.    Given the composition and size of the Class, its members may be

informed of the pendency of this action directly via U.S. mail and electronic mail.

              V.    PLAINTIFFS’ ADMINISTRATIVE CLAIMS

      25.    On December 10, 2020, Plaintiffs filed administrative claims under

Section 11.7 of the Plan. (the “Administrative Claims”).

      26.    On March 1, 2021, the Administrative Committee denied Plaintiffs’

Administrative Claims.

      27.    On March 9, 2021, Plaintiffs filed an appeal of their Administrative

Claims under Section 11.7(c) of the Plan.

      28.    On May 6, 2021, the Administrative Committee provided a final denial

of Plaintiffs’ Administrative Claims and provided the right to bring this suit under

the terms of the Plan.


                         VI.   FACTUAL ALLEGATIONS

                         A.    Rollins and the Rollins Plan

      29.    Defendant Rollins is a leading, global company that provides

residential and commercial pest control services through more than 900 subsidiaries

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and franchises worldwide and generates more than $1.8 billion in annual revenue.

      30.    Defendant Rollins offers the Rollins Plan to its employees, the Rollins

Plan participants/beneficiaries, as a way to save for retirement.

      31.    The Rollins Plan participants/beneficiaries fund their individual Plan

accounts through a portion of their wages.

      32.    The Rollins Plan participants/beneficiaries control the investment of all

contributions to their Plan accounts by directing them into one or more of a menu of

available investment options pre-selected by Rollins and the Administrative

Committee.

      33.    The available investment options for the Rollins Plan change over time

based on selections made by Rollins and the Administrative Committee.

      34.    For the Rollins Plan participants/beneficiaries who do not wish to make

their own investment decisions, the Plan offers a service, GoalMaker, that

automatically invests the participants/beneficiaries’ funds in a portfolio of available

investment options pre-selected by Rollins and the Administrative Committee

tailored to the participants/beneficiaries’ investment goals, including time to

retirement and risk preference.

                   B. The Rollins’ Administrative Committee

      35.    The Rollins Plan permits the sponsor (Rollins) to delegate certain

functions, including selecting and monitoring investment options, and hiring and


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monitoring service providers, to the Administrative Committee. Exhibit 1, Rollins

Plan, at § 12.1-12.7.

      36.    The Rollins Plan states that “The Administrative Committee will fulfill

the duties of ‘administrator’ as set forth in ERISA Section 3(16) and will have

complete control of the administration of the Plan hereunder, with all powers

necessary to enable it properly to carry out its duties as set forth in the Plan and the

Trust Agreement.” Exhibit 1, Rollins Plan, at § 12.3(a) Fiduciary Responsibilities.

      37.    The Rollins Plan further provides that: “The Administrative

Committee, acting in its role as a Named Fiduciary, will have the following duties

and responsibilities: (1) To construe the Plan and to determine all questions that arise

hereunder; (2) To have all administrative powers elsewhere herein conferred upon

it; (3) To decide all questions relating to the eligibility of Employees to participate

in the benefits of the Plan; (4) To determine the benefits of the Plan to which any

Participant or Beneficiary may be entitled; [and] (5) To make factual findings with

respect to claims for benefits….” Id. at § 12.3(a). Id.

    C. Rollins and the Administrative Committee’s Fiduciary Duties and
                        Obligations Under ERISA

      38.    The Employee Retirement Income Security Act of 1974 (ERISA), 29

U.S.C. 1001 et seq., protects “the interests of participants in employee benefit plans

and their beneficiaries,” 29 U.S.C. 1001(b), by imposing trust-law duties of loyalty,


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prudence, and diligence on plan fiduciaries. 29 U.S.C. 1104(a)(1).

       39.    ERISA broadly defines fiduciaries as anyone who exercises discretion

in the management of assets, renders investment advice for a fee, or possesses

discretionary         authority        regarding          plan        administration.

https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resource-

center/publications/meeting-your-fiduciary-responsibilities.pdf

       40.    ERISA’s broad definition of fiduciaries covers Rollins and the

Administrative Committee.

       41.    ERISA’s “exclusive benefit rule” commands the fiduciary to act for the

exclusive purpose of providing benefits to participants and their beneficiaries; this

broad obligation, informed by the common law of trusts, entails not only a negative

duty not to misinform, but also an affirmative duty to inform when the trustee knows

that silence might be harmful, including a duty to disclose any and all conflicts of

interest.    ERISA §§ 404(a)(1)(A), 502(a)(2), 29 U.S.C.A. §§ 1104(a)(1)(A),

1132(a)(3); Restatement (Second) Trusts § 173 comment. The Law of Trusts. Austin

W. Scott, § 199, p. 1638 (1967).

       42.    Specifically, ERISA Section 404(a)(1) provides that “[a] fiduciary shall

discharge his duties with respect to a plan solely in the interest of the participants

and beneficiaries and: (A) for the exclusive purpose of: (i) providing benefits to

participants and their beneficiaries; and (ii) defraying reasonable expenses of


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administering the Plan; (B) with the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of a like

character and with like aims; (C) by diversifying the investments of the plan so as to

minimize the risk of large losses, unless under the circumstances it is clearly prudent

not to do so; and (D) in accordance with the documents and instruments governing

the plan insofar as such documents and instruments are consistent with the

provisions of this subchapter and subchapter III of this chapter.”

      43.    An ERISA fiduciary must discharge his duties “with the care, skill,

prudence, and diligence under the circumstances then prevailing that a prudent man

acting in a like capacity and familiar with such matters would use in the conduct of

an enterprise of a like character and with like aims.” 29 U.S.C. 1104(a)(1)(B).

      44.    If the fiduciary fails to do so, a plan participant, beneficiary, or

fiduciary, or the Secretary of Labor, may sue on the plan’s behalf to remedy the

breach of fiduciary duty. 29 U.S.C. 1132(a)(2).

      45.    A fiduciary is “personally liable to make good to such plan any losses

to the plan resulting from each such breach.”          29 U.S.C. 1109(a); see also

Restatement (Third) Trusts § 100(a) (2012) (“A trustee who breaches his or her duty

could be liable for loss of value to the trust or for any profits that the trust would

have accrued in the absence of the breach.”).


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     D. Rollins and the Administrative Committee’s Violations of ERISA

      46.    Rollins and the Administrative Committee, as responsible Plan

fiduciaries (functioning and responsible for controlling and managing the operation

and administration of the Rollins Plan), breached and alienated the trust of the Plan’s

participants/beneficiaries and dissipated the Plan’s assets in violation of the Plan’s

documents.

      47.    Rollins and the Administrative Committee’s actions violated ERISA’s

“sole and exclusive” rule, which requires fiduciaries to act “solely in the interest of”

and “for the exclusive purposes” of a plan’s participants and beneficiaries. 29 U.S.C.

§§1103(a), (c)(1), 1104(a)(1) and (2).

      48.    Rollins and the Administrative Committee breached their ERISA

fiduciary duties by: (i) allowing excessive recordkeeping fees; (ii) selecting high cost

and poor performing investments compared to available alternatives; (iii) failing to

monitor the Plan’s investments generally.

      49.    Rollins and the Administrative Committee also repeatedly violated

ERISA § 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D) (the duty to act in accordance

with the documents and instruments governing the plan).

      50.    Rollins and the Administrative Committee’s actions and conduct as

fiduciaries of the Plan were not a result of a reasoned and principled process.

      51.    Rollins and the Administrative Committee’s actions and conduct as

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fiduciaries of the Plan were inconsistent with prior interpretations by the Plan’s

administrator(s).

      52.    Rollins and the Administrative Committee’s actions and conduct as

fiduciaries of the Plan were not consistent with the purpose(s) of the Plan.

      53.    Rollins and the Administrative Committee’s actions and conduct

amounted to a breach of fiduciary duty under ERISA.

      54.    Rollins and the Administrative Committee’s repeated actions directly

violated the Rollins 401k Plan document’s terms at “ARTICLE XVI Section 16.1

Nonalienation of Benefits and Spendthrift Clause,” which states:

      Except to the extent permitted by law…none of the Accounts, benefits,

      payments, proceeds or distributions under the Plan will be subject to

      the claim of any creditor of a Participant or beneficiary or to any legal

      process by any creditor of such Participant or beneficiary; and neither

      such Participant nor beneficiary will have any right to alienate,

      commute, anticipate or assign any of the Accounts, benefits, payments,

      proceeds or distributions under the Plan except to the extent expressly

      provided herein.

Exhibit 1, Rollins Plan, at § 16.1.
      55.    Rollins and the Administrative Committee’s repeated actions also

directly violated the Internal Revenue Service’s (“IRS”) determination letter


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requiring Rollins and the Administrative Committee to abide by the “terms” to

maintain the plan’s tax-exempt status.

      i.     Rollins and the Administrative Committee Failed to Investigate
             and Select Qualified Covered Service Providers

      56.    The Rollins Plan required a number of service providers to operate the

Plan, including but not limited to investment management.

      57.    Rollins and the Administrative Committee had a duty to prudently

select service providers by investigating and reviewing their backgrounds and

qualifications.

      58.    During the relevant time period, Rollins and the Administrative

Committee retained Prudential to serve as the Plan’s administrator.

      59.    In or before 2009, Rollins and the Administrative Committee retained

Defendants LPL Financial, LLC (“LPL”), Alliant Insurance Services, LLC (“AIS”),

Alliant Retirement Services, LLC (“ARS”) and their affiliates and representatives:

Sean P. Waggoner (“Waggoner”), and James E. Bashaw & Co. (“Bashaw”)

(collectively “Covered Service Providers” or “CSP”) to provide services to the Plan,

including but not limited to advising the Administrative Committee on registered

securities under the Securities Act of 1933 and drafting the Plan’s Investment Policy

Statement. Exhibit 2, Meeting Minutes, pp. 89-90, “Ms. Smith has suggested that

it would be time to review the Investment Policy Statement and make sure that it



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specifically addresses the Waltham Group. ACTION ITEM: Alliant will provide a

draft Investment Policy Statement to the Committee for review at the next meeting.

This document will include the Waltham Plan.”

      60.    Additionally, according to the Administrative Committee’s Meeting

Minutes, the Prudential Services Agreement and Forms 5500, Rollins and the

Administrative Committee directed that Waggoner, LPL, AIS and ARS be direct

recipients of alienated Rollins Plan’s cash assets over multiple Plan years. See,

generally, Exhibit 2, Meeting Minutes; Exhibit 3, Prudential Services Agreement;

and IRS Forms 5500 at Part II Basic Plan Information, Line 2a.

      61.    Rollins and the Administrative Committee did not possess a viable,

documented process and methodology for prudent and skilled selection and

monitoring of both: (i) the Plan’s investments and related expenses, and (ii) the CSP

and/or their associated cost(s). See, generally, Meeting Minutes, Exhibit 2.

      62.    Based on the Administrative Committee’s Meeting Minutes, Rollins

and the Administrative Committee failed to prudently investigate the CSP, including

Waggoner, Alliant Insurance Services, and Alliant Retirement Services, before

retaining the CSP and/or making payments to CSP from the Plan’s trust. See,

generally, Meeting Minutes, Exhibit 2.

      63.    Defendants Alliant Insurance Services, Inc., Alliant Retirement

Services, LLC and LPL Financial LLC alienated trust assets by receiving fees


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though they were merely serving as “pass-through” entities and not necessary for the

operation of the plan. Further, despite receiving revenue from the Rollins 401(k)

plan, they failed to supervise the actions of Sean Waggoner who acted as an

investment advisor to the Plan, especially in light of disclosure events that would

cause Waggoner to be terminated by LPL.

      64.    Rollins and the Administrative Committee reported to the IRS and the

Department of Labor that, between 2009 and present, Sean Waggoner and his payee

“supervisory firms LPL/AIS/ARS” acted, and were paid, as “SERVICE CODE 27”

(“Investment Advisory (Plan)”).

      65.    AIS sells insurance to retail and institutional clients.

      66.    AIS was never licensed as a Registered Investment Adviser (“RIA”)

with the U.S. Securities and Exchange Commission (“SEC”).

      67.    Alliant Retirement Consulting (CRD #167970) (“ARC”) was approved

as an advisory firm by the SEC in 2013.

      68.    Waggoner           joined         ARC          in            July      2013.

https://adviserinfo.sec.gov/individual/summary/2748574

      69.    Between 2009 and mid-2013, Waggoner was not working for ARC in

an          investment          advisor           or             broker          capacity.

https://adviserinfo.sec.gov/individual/summary/2748574

      70.    Between 2009 and 2013, Waggoner was not licensed as an investment


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advisor with Alliant, the firm he represented himself to the Administrative

Committee                       as                  working                   with.

https://adviserinfo.sec.gov/individual/summary/2748574

         71.    Between 2009 and mid-2013, Waggoner was licensed to offer

investment advice through NFP Securities, LPL Financial and James E. Bashaw &

Co. https://adviserinfo.sec.gov/individual/summary/2748574

         72.    Rollins and its Administrative Committee’s Meeting Minutes did not

reflect the correct Registered Investment Adviser (RIA) firm for which Waggoner’s

Series     65    license   applied   between   at   least   2009   and   mid-2013.

https://adviserinfo.sec.gov/individual/summary/2748574

         73.    Based on the https://adviserinfo.sec.gov/individual/summary/2748574

timeline of Waggoner’s employment, between 2008 and 2009, Waggoner’s

investment advisor status was at “NFP SECURITIES, INC. (CRD #42046).”

         74.    From 2009 to 2015, Waggoner’s investment advisor license changed to

LPL. https://adviserinfo.sec.gov/individual/summary/2748574

         75.    As responsible Plan fiduciaries, Rollins and the Administrative

Committee knew or should have known that their “SERVICE CODE 27”

(“Investment Advisory (Plan)”) representative was not adequately licensed with the

firm he claimed to be representing.

         76.    Rollins and the Administrative Committee should have investigated


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Waggoner’s investment advisor license, especially after reviewing the investment

advisory payees in the Form 5500 record.

      77.     Had Rollins and the Administrative Committee investigated

Waggoner’s investment advisor license, they would have discovered that between

2006 and mid-2013, Waggoner was never licensed as an investment advisor for AIS

and/or ARS.

      78.     Specifically, the SEC records show that, between March 2010 and May

2016, Waggoner participated in eight private securities transactions without

providing notice to his firm, in violation of NASD Rule 3040 and FINRA Rules

3280 and 2010. Exhibit 4, Financial Industry Regulatory Authority Letter of

Acceptance, Waiver and Consent No. 2017054826001, p. 2.

      79.     The SEC records also show that, between June 2014 and January 2017,

Waggoner failed to provide prior written notice to his firm about eight personal

brokerage accounts, in violation of NASD Rule 3050(c) and FINRA Rule 2010. Id.

      80.     Waggoner was investigated for wrongdoing beginning in 2010 and was

terminated from LPL on June 30, 2017, due to “loss of management’s confidence.”

Exhibit 4, Financial Industry Regulatory Authority Letter of Acceptance, Waiver

and Consent No. 2017054826001, p. 1.

      81.     Following his termination from LPL, Waggoner transferred his license

to Cetera Advisor Networks, LLC (“Cetera”).


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      82.    Cetera is a dually registered investment adviser and broker-dealer

(CRD #13572) that first registered as an investment adviser with the SEC in 1988.

      83.    On August 14, 2020, while he was with Cetera Advisor Networks,

Waggoner was suspended by FINRA and the Insurance Commissioner of the State

of California for failure to “report an administrative action taken by FINRA to the

California                        Insurance                         Commissioner.”

https://adviserinfo.sec.gov/individual/summary/2748574.

      84.    Based on Waggoner’s record of NASD and FINRA rules violations,

Waggoner was not qualified to serve as a CSP to the Plan and/or to recommend

investments affecting tens of thousands of workers’ assets in the Plan.

      85.    Waggoner was also not qualified to serve as a CSP to the Plan because

Waggoner failed to register as an investment advisor with the State of Georgia, in

violation of the mandatory registration required under O.C.G.A. § 10-5-33.

      86.    Rollins and the Administrative Committee failed to investigate and/or

review Waggoner.

      87.    Although Waggoner was retained by the Administrative Committee in

2006, Administrative Committee Meeting Minutes indicate that the first time the

Administrative Committee acted to review Waggoner was late in 2016 or early 2017,

ten years after his hiring. Exhibit 2, Meeting Minutes, p. 144.

      88.    Rollins and the Administrative Committee also failed to investigate


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and/or review Waggoner’s conflicts of interest.

      89.    Had Rollins and the Administrative Committee reviewed the funds’

prospectuses and fee disclosures, they would have discovered multiple instances of

conflicts of interest through finder’s fees from arrangements with his broker-dealers

and fund companies.

      90.    Rollins and the Administrative Committee also imprudently selected

another investment fiduciary/covered service provider, James Bashaw and Bashaw

& Co. (CRD #129320).

      91.    Specifically, had Rollins and the Administrative Committee

investigated James Bashaw, they would have discovered that he had a record of

disciplinary actions, including alleged breach of fiduciary duty in June 1988.

https://brokercheck.finra.org/individual/summary/1251491.

      92.    Had Rollins and the Administrative Committee investigated James

Bashaw, they would have also discovered that he was terminated from LPL on

September 24, 2014 for “(A) participating in private securities transactions without

providing written disclsoure to and obtaining written approval from the firm, (B)

borrowing from a client, and (C) engaging in a business transaction that created a

potential conflict of interest without providing written disclosure and obtaining

written             approval               from               the             firm.”

https://adviserinfo.sec.gov/individual/summary/1251491.


                                         23
      93.    Rollins and the Administrative Committee failed to exercise due care

in selecting and retaining the CSP.

      94.    The CSP selected and retained by Rollins and the Administrative

Committee had a publicly available record of serious regulatory and disciplinary

matters, including those described in Paragraphs 78-84, supra.

      95.    Rollins and the Administrative Committee failed to investigate and/or

review the CSP’s background and regulatory and disciplinary record(s).

      96.    Had Rollins and the Administrative Committee investigated and/or

reviewed the CSP’s background, they would have discovered that the CSP had a

publicly available record of serious regulatory and disciplinary matters, including

those described in Paragraphs 77-83 supra.

      97.    Rollins and the Administrative Committee could have easily discovered

the CSP’s regulatory and disciplinary matters, including those described in

Paragraphs 77-83, supra, by making a phone call to FINRA or the SEC, or by

running a simple Google search for “Sean P. Waggoner.”

      98.    The CSP’s regulatory and disciplinary record(s), including those

described in Paragraphs 77-83, supra, which Rollins and the Administrative

Committee failed to investigate and/or review, violate the Plan’s Investment Policy

Statement, which provides that “[m]anagers must have had no ongoing regulatory

investigation relating to a specific fund in the Plans.” Exhibit 5, Investment Policy


                                         24
Statement,.

      99.     Rollins and the Administrative Committee’s failure to exercise due care

in selecting and retaining the CSP is a breach of the Committee’s fiduciary duties as

the Plan’s trustees.

      100. Rollins and the Administrative Committee’s failure to exercise due care

in selecting and retaining the CSP is also a violation of the Department of Labor

guidelines, which provide that: (i) when selecting a service provider, “a plan

fiduciary must engage in an objective process”; (ii) such a process must be “designed

to elicit information necessary to assess the qualifications of the service provider,

the quality of the work product, and the reasonableness of the fees charged in light

of the services provided”; and (iii) “such process should be designed to avoid self-

dealing,    conflicts   of   interest   or        other   improper   influence.”   See

https://www.dol.gov/agencies/ebsa/employers-and-advisers/guidance/field-

assistance-bulletins/2002-03.

      ii.     Rollins and the Administrative Committee Failed to Properly
              Monitor Covered Service Providers

      101. As an appointing fiduciary, Rollins and the Administrative Committee

had a continuing duty to monitor and review the performance of the CSP, including

Waggoner, to ensure that the CSPs’ performance complied with the terms of the Plan

and statutory standards, and satisfied the needs of the Plan.



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      102. When relying on Waggoner and his payee supervisory firms

LPL/AIS/ARS “expert advice” to make investment decisions, Rollins and the

Administrative Committee should have conducted a thorough investigation and

ensured that Waggoner and LPL/AIS/ARS offered independent and impartial

advice.

      103. Rollins and the Administrative Committee failed to conduct a thorough

investigation to ensure that Waggoner and LPL/AIS/ARS offered independent and

impartial advice.

      104. Based on the Administrative Committee’s Meeting Minutes, Waggoner

performed work for the Plan from 2006 through at least 2020.

      105. Based on the Administrative Committee’s Meeting Minutes, the

Rollins Plan (with an approved IRS Determination Letter), and Forms 5500 for Plan

years 2009-2020, Waggoner and his payee “supervisory firms LPL/Bashaw &

Co./AIS/ARS” misrepresented his employers and also “trust payees.” See, generally,

Exhibit 2, Meeting Minutes; Forms 5500 for Plan years 2009-2020.

      106. Between 2006 and 2017, Waggoner failed to disclose to Rollins and the

Administrative Committee, and Rollins and the Administrative Committee failed to

investigate, Waggoner’s relationship with LPL and Bashaw & Co.

      107. Waggoner reported and represented that his employer between 2006

and May 2015 was AIS, and that thereafter his employer was ARS, and Rollins and


                                        26
the Administrative Committee failed to investigate Waggoner’s relationship with

either entity.

       108. In fact, based on SEC records, Waggoner’s employer between 2009 and

his termination on June 30, 2017, was LPL. See https://www.carlsonlaw.com/sean-

waggoner-ex-lpl-broker-suspended-over-alleged-private-transactions/           (“Sean

Waggoner was associated with LPL financial as an Investment Company and

Variable Contracts Products Representative from 2009 until June 2017, when the

firm filed notice of his termination in connection to a ‘loss of confidence’ from

management.”).

       109. Upon information and belief, Waggoner failed to disclose his

relationship with LPL to continue to receive LPL’s broker-dealer related securities

revenue held at Prudential (e.g., finder’s fees, SEC Rule 12b-1 and/or “sub-transfer

agency” fees, and soft dollar pay, including potentially a large bonus for selling

certain American Funds.

       110. Between 2006 and 2017, Waggoner also failed to disclose to Rollins

and the Administrative Committee, and Rollins and the Administrative Committee

failed to investigate, that his Investment Adviser Representative (“IAR”) license was

held by: (i) LPL (CRD #6413); (ii) James Bashaw at Bashaw & Co. (CRD #129320);

(iii) Alliant Retirement Consulting (CRD #167970); and (iv) Cetera Advisors

Networks, LLC (CRD #13572).


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      111. Rollins and The Administrative Committee’s failure to investigate

Waggoner’s IAR license violated the Plan’s Investment Policy Statement, which

provided that “[t]he Administrative Committee will evaluate investment managers”

and “manager[s] will be reevaluated [in case of] [m]isconduct, misrepresentation or

lapse in integrity”). Exhibit 5, Investment Policy Statement, p. 2-3.

      112. Rollins and the Administrative Committee failed to engage in

systematic and regular monitoring of the CSP. Instead, any purported monitoring

by Rollins and the Administrative Committee only occurred as a result of class

action lawsuits against other plans. Exhibit 2, Meeting Minutes, pp. 149, 158-9 and

176-7.

      113. Rollins and the Administrative Committee failed to investigate adverse

interests and/or conflicts of interest between Waggoner and his supervisory firms,

LPL, AIS, ARS and Cetera Advisors Networks, LLC.

      114. Rollins and The Administrative Committee authorized Waggoner to

negotiate the revenue sharing agreement with Prudential, which allowed Prudential

to further profit from the reduced crediting rate of the Prudential Guaranteed Income

Contract.

      115. According to the March 22, 2010, Administrative Committee Meeting

Minutes, Waggoner used Rollins and the Administrative Committee’s authorization

to increase revenue sharing from five to twenty basis points, and thereafter reduced


                                         28
the crediting rate of Prudential Guaranteed Income Contract for the Plan’s trust and

participants/beneficiaries at least through 2017. Exhibit 2, Meeting Minutes, pp. 25

and 28 (“Mr. Waggoner addressed this arrangement with Prudential and was able to

negotiate an increase of revenue sharing on the Prudential Guaranteed Fund (GIC)

to 0.20%, up from 0.05%.”)

      116.   The increase from five to twenty basis points resulted in costs on the

Prudential Guaranteed Income Contract (GIC) rising from $24,000 in 2009 to

$100,000 in 2010. By 2017, the fee increased to over $175,000 simply due to the

increase in assets held by the GIC.

      117. In the June 28, 2013, meeting, it was noted that 229 participants were

using the Prudential Guaranteed Fund as their sole investment. These participants

were therefore designated to bear an inequitable burden from the 15 basis point

increase. Exhibit 2, Meeting Minutes, p. 93.

      118. The Prudential Guaranteed Income Contract’s increased revenue

sharing reduced the crediting rate to every one of the approximately seven thousand

participants/beneficiaries invested in the GoalMaker program. Exhibit 2, Meeting

Minutes, pp.152 (As of June 28, 2017, there were 6,988 participants or 62.8% of the

participants in the Plan utilizing the GoalMaker program, with assets of

$116,498,822).

      119. Rollins and the Administrative Committee’s failure to prudently


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investigate the increased revenue sharing on the Prudential Guaranteed Income

Contract was a violation of ERISA Section 204(g)(1), which prohibits amendments

that decrease defined contribution plan participants’ future account balances.

      120. In 2016, Rollins and the Administrative Committee, relying on

Waggoner’s advice, added the Victory Sycamore Established Value A (“VETAX”)

fund to the Plan’s portfolio solely because it paid revenue sharing fees of 0.35% per

year. Exhibit 2, Meeting Minutes, pp. 137-8, 140-1, (showing the available Victory

Sycamore Established, Value I (“VEVIX”) fund, with the same holdings, the same

management, etc. and a higher annual yield).

      121. Rollins and the Administrative Committee should have investigated the

VETAX and VEVIX funds.

      122. Had Rollins and the Administrative Committee investigated the

VETAX and VEVIX funds, it would have learned that the VEVIX fund was a less

costly, better performing fund.

      123. Had Rollins and the Administrative Committee investigated the

VETAX and VEVIX funds, it would have realized that the only reason Waggoner

recommended the more costly VEVAX fund was due to the fact that CSP pay was

predicated on selling funds with SEC Rule 12b-1 fees and the VEVAX fund

contained SEC Rule 12b-1 fees (whereas the VEVIX fund did not).

      124. Rollins and the Administrative Committee’s choice of the VEVAX


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fund resulted in a compounded loss of at least fifty-one basis points (0.51%) in

annual returns that would have been generated by the VEVIX fund.

      125. In the June 28, 2017, meeting, the committee discussed fund revenue

reduction. “There are funds on the lineup that have multiple share classes that

provide for lower revenue share. The Guaranteed Income Fund is flexible in the

revenue share that can be generated, the fund currently provides for 20 basis points

($195,000). This could be reduced to 10 basis points, and this would provide a direct

increase in crediting rate to the participants who utilize this fund, 2.63% to 2.73%.”

Additionally, the Committee highlighted six funds, including the Victory Sycamore

Established Value fund, that offered opportunities for reducing expense/revenue

share. This shows the Committee was aware of the availability of cheaper share

classes and the adverse effect the increase in costs had on returns. Exhibit 2, Meeting

Minutes p. 151.

      126. Rollins and the Administrative Committee authorized Waggoner to

draft and/or modify the Plan’s Investment Policy Statement.

      127. With the approval of Rollins and the Administrative Committee,

Waggoner drafted and/or modified the Plan’s Investment Policy Statement to allow

the primary criteria for selection and removal of a registered security in the Plan to

be “past performance.”      Exhibit 5, Investment Policy Statement, p. 2 (“the

Administrative Committee will generally apply the following applicable


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performance standards…. Equity and fixed-income actively managed funds should

rank in the top 50% of the applicable Morningstar Category in either a three- or a

five- year time period.”)

      128. Rollins and the Administrative Committee’s approval of the Plan’s

Investment Policy Statement to rely on “part performance” was a violation of SEC

Rule 156, which states that it is misleading to convey to an investor that a mutual

fund’s past performance can predict future performance. See 17 CFR § 230.156.

      129. Rollins and the Administrative Committee’s approval of the Plan’s

Investment Policy Statement to rely on “part performance,” and its reliance on “part

performance” was a breach of its fiduciary duty.

      130. Rollins and the Administrative Committee’s reliance on “part

performance” resulted in a cycle of: (i) repeatedly approving/adding new funds; (ii)

forcing participants/beneficiaries’ money into the new funds; (iii) watching the fund

underperform; (iv) adding the new fund to the “Watch List”; and (v) making excuses

for their lagging returns or ultimately removing the fund from the Plan’s portfolio.

See, generally, Exhibit 2, Meeting Minutes (showing that the following funds were

placed on the “Watch List” at various times: Alger Mid Cap Growth Fund, American

Funds Capital World Growth and Income Fund, American Funds EuroPacific

Growth Fund, American Funds Growth Fund of America R4 Fund, Franklin Growth

Fund, Goldman Sachs Mid Cap Value Fund (GCMAX), Hartford MidCap Y Fund,


                                         32
Metropolitan West Total Return Bd Plan, Morgan Stanley Inst Discovery I,

Oakmark Equity and Income, T. Rowe Price New Horizons, Victory Diversified

Stock A, and Victory Sycamore Established Value A).

      131. Rollins and the Administrative Committee’s reliance on “past

performance” caused at least $7 million in damages to the Plan’s trust and

participants/beneficiaries by their 2009 decision to replace the Dodge and Cox

Balanced with the Oakmark Equity and Income Fund.

      132. On April 1, 2009, Rollins and the Administrative Committee adopted

Waggoner’s recommendation to remove the Plan’s default investment fund, Dodge

& Cox Balanced. Exhibit 2, Meeting Minutes, p. 1.

      133. On April 1, 2009, Rollins and the Administrative Committee executed

a corporate resolution to direct Prudential to sell all of the Dodge & Cox Balanced

Fund’s assets (representing the entire trust corpus’ shares of this security worth an

estimated $18,929,283 of the participants’/beneficiaries’ accounts) and put the

resulting cash into lower-yielding, more costly Oakmark Equity and Income Fund.

Id.

      134. Rollins and the Administrative Committee replaced the Dodge & Cox

Balanced Fund, yielding 2.36%, with the Oakmark Equity and Income Fund,

yielding 1.15%, or 105% less than the Dodge & Cox Balanced Fund. Exhibit 2,

Meeting Minutes, pp. 18-19.


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      135. Rollins and the Administrative Committee replaced the Dodge & Cox

Balanced Fund with the significantly lower-yielding Oakmark Equity and Income

Fund which paid 300% more in revenue sharing than the Dodge & Cox Balanced

Fund. See Id. and 2009 Form 5500

      136. Immediately following its selection, the Oakmark fund’s top ranking

performance upon which it was selected began reverting to the mean. “The fund was

defensively positioned in 2008 and is now having a little difficulty keeping pace in

the rally. The fund is at 14.66% year to date which ranks that in the 85th percentile.”

Exhibit 2, Meeting Minutes, p. 19.

      137. With respect to the year-to-date performance, “Mr. Waggoner noted

that the criteria used in the Investment Policy Statement (IPS) for fund analysis is

the 3 and 5 year time frames.” Exhibit 2, Meeting Minutes, p. 26.

      138. While referencing the fund’s top quartile annualized three- and five-

year returns, the participants did not benefit from the past performance relied on for

its selection and only experienced the bottom-quartile year-to-date returns.

      139. On January 6, 2012, the Committee failed to place the fund on the

Watch List despite “not meeting IPS Standards.” See paragraph 137, supra and

Exhibit 2, Meeting Minutes, p. 65.

      140. In the following Committee meeting, the fund was again not placed on

watch despite “not meeting IPS Standards” in violation of ERISA §1104(a)(1)(d)


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and its high-quality bond portfolio is emphasized as “a relatively strong down side

protector.” Exhibit 2, Meeting Minutes, p. 71.

      141. The fund was finally placed on the watch list in the October 5, 2012,

meeting for bottom quartile returns in the one- and three-year performance periods.

Exhibit 2, Meeting Minutes, p. 79-80.

      142. In the February 5, 2013 meeting, the Administrative Committee

acknowledged that “[i]f the Committee were to grade the fund, it would receive an

‘F.’” Exhibit 2, Meeting Minutes, p. 84.

      143. Despite nearly four years of bottom-quartile returns, the Administrative

Committee failed to act by maintaining the fund’s watch list status rather than

reevaluating its selection and monitoring process. Id.

      144. In the following two quarters, Waggoner reviewed alternatives with the

Committee, however, they sought more information about one alternative fund

which they subsequently decided not to use. Exhibit 2, Meeting Minutes, pp. 88, 89

and 93.

      145. After a brief reprieve from the watch list in 2014, on February 26, 2015,

the Administrative Committee’s Meeting Minutes note that “[t]he third quarter

information was reviewed. The Oakmark Equity and Income Fund is currently

underperforming for the three and five-year time frames….The equity position has

grown to 75%, which has caused Morningstar to classify this an aggressive fund.”


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Exhibit 2, Meeting Minutes, p. 111.

      146. It became clear in the August 9, 2019 meeting that the fund’s strategy

and risk profile had dramatically shifted. Exhibit 2, Meeting Minutes, p. 175.

      147. In 2014, nearly the entire 40% fixed income portion of the portfolio was

invested in highly rated U.S. Bonds, however, by 2019, up to 20% of the fund’s

portfolio could be invested in high yield (junk) bonds, a decision that proved to be

detrimental. Exhibit 2, Meeting Minutes, pp. 103, 198.

      148. Waggoner and the Administrative Committee failed to address the

significant shift in investment strategy and risk as mandated by the IPS: “A fund will

be reevaluated if the fund experiences: a real or perceived change in investment style

or discipline Exhibit 5, Investment Policy Statement, pp. 2-3.

      149. The decision to finally remove the Oakmark Equity and Income Fund

from the Plan occurred on September 14, 2020, after a decade with significant

periods on the watch list, bottom-quartile returns, and investment style and risk

profile changes, all of which repeatedly failed the Plan’s IPS monitoring standards.

Exhibit 2, Meeting Minutes, p. 198-9.

      150. In 2016, relying on the fund’s past performance, Rollins and the

Administrative Committee added to the Plan’s portfolio a costly, lower-yielding

(0.95%) version of the Victory Sycamore Established Value A fund, even though an

otherwise identical, but less costly and higher-yielding (1.28%) version was


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available.

      iii.   Rollins and the Administrative Committee Failed to Properly
             Oversee Payments to the Covered Service Providers

      151. None of the CSP retained by Rollins and the Administrative Committee

added value to the Plan.

      152. Instead, these CSP harmed the Plan’s trust and the Plan’s

participants/beneficiaries by failing to comply with ERISA § 408 to be “necessary

for the operation of the plan” to receive “reasonable compensation.”

      153. Between 2009 and present, the CSP were paid by Rollins and the

Administrative Committee from the Rollins Plan’s trust assets.

      154. According to Administrative Committee Meeting Minutes and Forms

5500 from 2009 to 2020, Rollins and the Administrative Committees directed

Prudential to deduct more than $1 million from the Plan’s trust’s assets and wire the

proceeds to unnecessary and conflicted functional fiduciaries (i.e., Waggoner and

his payee “supervisory firms” LPL, AIS and ARS).

      155. For example, between 2014 and present, ARS was paid $80,752 per

each plan year.

      156. The cost of $80,750 per each plan year was set by Waggoner as his and

ARS compensation via the Prudential Services Agreement signed by Rollins and the

Administrative Committees. Exhibit 3, Prudential Services Agreement, p. 72.



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      157. Rollins and the Administrative Committee failed to investigate the

reasonableness of the $80,750 per each plan year fee paid to ARS.

      158. There was no evidence in the Administrative Committee Meeting

Minutes that the Administrative Committee ever researched Alliant Insurance

Services’ other clients at www.efast.dol.gov and compared the Plan’s direct

compensation to ARS of $80,750 each plan year to other AIS/ARS clients.

      159. Had Rollins and the Administrative Committee conducted a prudent

investigation into the reasonableness of the $80,750 per each plan year fee paid to

ARS/AIS, Rollins and the Administrative Committee would have discovered that

the fee was excessive.

      160. Rollins and the Administrative Committee should have known that

$80,750 per each plan year paid to ARS was excessive because, based on ARS’s

other clients’ Forms 5500, ARS’s median pay for the same services under the same

agreements was only $24,216 per year.

      161. Rollins and the Administrative Committee’s failure to prudently

investigate the reasonableness of the $80,750 per each plan year fee paid to ARS/AIS

was a breach of their fiduciary duty and duty of loyalty to the Plan’s trust and

participants/beneficiaries.

      162. In 2012, Rollins and the Administrative Committees filed an annual

report (Schedule C, Form 5500) with the DOL and IRS stating that both Bashaw &


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Co. and LPL were compensated $50,000 and $47,000 respectively for the same

services provided to the Rollins Plan.

      163.    The next plan year, Rollins and the Administrative Committees

directed Prudential to pay the Plan’s trust assets directly to both Bashaw & Co. and

ARS for the same services provided to the Rollins Plan.

      164. Upon information and belief, Bashaw & Co. was a flow through or

“shell” company that served as a pass-through firm to pay both James Bashaw and

Waggoner individually.

      165. Rollins and the Administrative Committee’s approval of compensation

paid to multiple CSP for the same services was a breach of fiduciary duty to the

Plan’s trust and participants/beneficiaries.

      166. There is no evidence in any of the Administrative Committee Meeting

Minutes that LPL, James Bashaw or James E. Bashaw & Co. provided any services

to the Rollins Plan.

      167. Rollins and the Administrative Committee’s approval of compensation

paid to LPL, James Bashaw or James E. Bashaw & Co. when no services were

provided by these CSP to the Plan was a breach of fiduciary duty to the Plan’s trust

and participants/beneficiaries.

      168. Rollins and the Administrative Committee’s approval of compensation

paid to LPL, James Bashaw or James E. Bashaw & Co. when no services were


                                          39
provided by these CSP to the Plan was also a violation of ERISA § 408(b)(2).

         169. Based on the Forms 5500, the total amount paid directly from the

Rollins Plan’s trust to CSP for unnecessary services between 2009 and present was

$1,007,613.

         170. The Code 27 advisor CSPs were paid $1,007,613 by Rollins and the

Administrative Committee from the Rollins Plan’s trust assets despite the fact that

the CSP had a publicly available record of serious regulatory and disciplinary

matters.

         171. The $1,007,613 paid to CSP for unnecessary services between 2009 and

present was paid in violation of ERISA and the Internal Revenue Code § 4975,

thereby jeopardizing the tax-exempt status of the Plan’s participants/beneficiaries

previously tax-exempt contributions and untaxed investment earnings for many

years.

         172. Under the Plan’s documents, to restore the lost value to the Plan from

the $1,007,613 paid to CSPs for unnecessary services between 2009-present using

an estimated “Recovery Date” of November 25, 2021, an additional $530,995.72

would need to be deposited into the Plan’s as an IRS Restorative Payment.




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      iv.    Rollins and the Administrative Committee Allowed Revenue
             Sharing and Non-Uniform Revenue Sharing Allocations Among
             Participants/Beneficiaries in the Plan, Failed to Make Alternative
             Lower Cost Investments, And Failed to Disclose Alternative
             Lower Cost Investments to the Plan’s Participants/Beneficiaries

      173. Between 2006 and present, Prudential has served as a sub-accounting

firm for the mutual funds in the Rollins Plan.

      174. Between 2006 and present, Prudential has been compensated for its

services as a sub-accounting firm for the mutual funds in the Rollins Plan through

SEC Rule 12b-1 and/or “sub-transfer agency” fees (the “Prudential Expenses”).

      175. Under the Rollins Plan’s Prudential Services Agreement, executed by

Rollins and the Administrative Committee, Prudential then allocated certain

provider “pay deductions from the trust” in the form of revenue sharing to the

participants’/beneficiaries’ sub-accounts.

      176. Upon information and belief, the Plan’s revenue sharing agreement

provided that the Plan does not credit the affected participants’ original fund from

which the SEC Rule 12b-1 and/or “sub-transfer agency” fees are taken, but instead

credits “future dollar” investment allocations.

      177. Upon information and belief, Rollins and the Administrative

Committee acknowledged in writing that they received information to determine the

imprudence of the revenue sharing approach.

      178. The revenue sharing approach knowingly and deliberately selected by

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Rollins and the Administrative Committees is widely known as “the dirty little secret

of the mutual fund industry,” and accounts for more than $2 billion annually by the

industry. See, e.g., John P. Freeman, The Mutual Fund Distribution Expense Mess,

6/28/2007, The Journal of Corporation Law.

      179. This revenue sharing approach knowingly and deliberately selected by

Rollins and the Administrative Committees was an investment expense that

adversely affected the Plan’s mutual funds’ performance and income (yields).

      180. Specifically, the Prudential expenses were taken daily from each of the

Plan’s mutual funds based on the prospectus (commensurately reducing each mutual

fund’s net asset value).

      181. Because trading in a 401(k) plan is done on an omnibus, not individual

level, the mutual fund companies then sent their collected, aggregated revenue

sharing amounts back to the recordkeeper (Prudential, in this case) for each specific

fund on a daily basis.

      182. However, the affected individual participants in the Plan only received

their “credits” more than 90 days later and their “credits” were only “estimates,”

which prevented the “credits” from compounding as quickly as those of cheaper

equivalent funds (the “Missed Monthly Yields”).

      183. Fund yields on the more expensive share classes were often depleted

by more than thirty percent (>30%), so the Missed Monthly Yields also directly


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harmed every investor in the affected mutual fund dramatically more than the

revenue sharing credit’s true worth.

      184. Furthermore, upon information and belief, if and/or when Plan

participants/beneficiaries changed their investment elections and/or separated from

service, they did not receive any “credits” at all.

      185. The Plan’s participants/beneficiaries’ revenue-sharing deductions and

crediting amounts also varied dramatically by each fund chosen and kept by Rollins

and its Administrative Committee.

      186. This lack of uniformity violated ERISA’s uniform benefits, rights and

features requirements. 26 CFR § 1.401(a)(4)-4.

      187. From 2009 to 2014, two of the 12 mutual funds on the menu selected

by Rollins and the Administrative Committee paid zero SEC Rule 12b-1 and/or

“sub-transfer agency” fees.

      188. From 2009 to 2014, in violation of the Plan Document’s uniform and

non-discrimination provisions, participants/beneficiaries in the remaining 10 out of

12 funds shouldered the lion’s share of the Prudential recordkeeping burden by

paying the SEC Rule 12b-1 and/or “sub-transfer agency” fees, which were used

primarily to compensate Prudential for recordkeeping.

      189. From 2015 to 2017, five of 15 funds on the menu selected by Rollins

and the Administrative Committee paid zero SEC Rule 12b-1 and/or “sub-transfer


                                           43
agency” fees.

      190. From 2015 to 2017, in violation of the Plan Document’s uniform and

non-discrimination provisions, participants/beneficiaries in the remaining 10 out of

15 funds shouldered the lion’s share of the Prudential recordkeeping burden by

paying the SEC Rule 12b-1 and/or “sub-transfer agency” fees, which were used

primarily to compensate Prudential for recordkeeping.

      191. Upon information and belief, those participants/beneficiaries in the

funds that paid the SEC Rule 12b-1 and/or “sub-transfer agency” fees paid more

than $54 per participant in such fees in violation of 26 CFR § 1.401(a)(4)-4(a), which

requires all optional forms of benefits, rights and features provided under the Plan

to be made available to Plan beneficiaries in a nondiscriminatory manner.

      192. As the participants/beneficiaries in the funds that paid the SEC Rule

12b-1 and/or “sub-transfer agency” fees’ accounts increased in size (and they

doubled every five to six years from biweekly contributions and reinvested

dividends and interest), the SEC Rule 12b-1 and/or “sub-transfer agency” fees to

Prudential also increased, even though the benefits provided by Prudential remained

the same.

      193. The payment, and compounding, of the SEC Rule 12b-1 and/or “sub-

transfer agency” fees paid to Prudential resulted in additional lost opportunity costs

to the Plan’s participants/beneficiaries.


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      194. Specifically, the payment, and compounding, of the SEC Rule 12b-1

and/or “sub-transfer agency” fees paid to Prudential, decreased the net asset value

(“NAV”) or price of the affected funds.

      195. Rollins and the Administrative Committee hid the true share cost of the

Plan’s funds from the Plan’s participants/beneficiaries.

      196. Had Rollins and the Administrative Committee disclosed the true costs

to Plan participants, the participants likely would have demanded that Rollins and

its Administrative Committee take different, less-costly actions.

      197. Rollins and the Administrative Committee should have been more

transparent in how it allocated Prudential’s recordkeeping expenses to the Plan’s

participants/beneficiaries.

      198. Rollins and the Administrative Committee should have allocated

Prudential’s     recordkeeping      expenses      equally     across   all    Plan

participants/beneficiaries.

      199. Rollins and the Administrative Committee should not have allowed

compounding of Prudential’s recordkeeping expenses.

      200. By allowing the SEC Rule 12b-1 and/or “sub-transfer agency” fees to

Prudential to be paid by only some of the Plan’s participants, and by allowing the

SEC Rule 12b-1 and/or “sub-transfer agency” fees paid to Prudential to compound

as the participants’ accounts increased in size, the Administrative Committee


                                          45
breached its duty as a fiduciary of the Plan.

      201. Rollins and the Administrative Committee’s repeated, deliberate

decisions and actions in allowing the SEC Rule 12b-1 and/or “sub-transfer agency”

fees to Prudential to be paid by only some of the Plan’s participants and allowing

the SEC Rule 12b-1 and/or “sub-transfer agency” fees paid to Prudential to

compound     as   the   participants’   accounts    increased   in   size,   prevented

participants/beneficiaries’ access to an investment menu of faster compounding and

cheaper yet identical mutual funds.

      202. In December 2009, Prudential’s recordkeeping fee was $56.37 per

participant. Because the Committee approved their revenue sharing payment model,

by June 2017 that fee increased to $67 per participant. After being required to

compete for the business, Prudential agreed to reduce their fee 36% to $43 per

participant. “The reduction of fees from the current $67.00 per account to $43.00 per

account will result in a decrease of approximately $253,000. This will result in a

direct impact to plan participants: this will allow the reduction in expense ratios for

the funds in the lineup.” Exhibit 2, Meeting Minutes, pp. 28 and 151.

      203. The Committee’s lack of oversight and inappropriate delegation of CSP

compensation to Waggoner allowed for the overcharging of recordkeeping expenses

for years and enabled the continued use of expensive and imprudent funds and share

classes.


                                          46
      v.     Rollins and the Administrative Committee Failed to Select Less
             Costly Investments and Failed to Monitor Plan Investments
             Under 29 U.S.C. §§ 1132(A)(2) and (3)

      204. In devising and implementing strategies for the investment and

management of trust assets, Rollins and the Administrative Committee, as trustees

of the Plan, had a duty to minimize costs. Restatement 3d of Trusts, § 90 (2012).

      205. Rollins and the Administrative Committee had a duty to “avoid

unwarranted costs” by being aware of the “availability and continuing emergence”

of alternative investments that may have “significantly different costs.” Id.

      206.    Adherence to this duty required the regular performance of an

“adequate investigation” of existing investments in the Plan to determine whether

any of the Plan’s investments were “improvident” or if there was a “superior

alternative investment” to any of the Plan’s holdings. Id.

      207. The Goldman Sachs Mid Cap Value A fund held a large portion of the

Plan’s, trust’s and participants’/beneficiaries’ assets.

      208. The Goldman Sachs Mid Cap Value A fund was one of the most

discussed funds in the Administrative Committee Meeting Minutes (appearing more

than 60 times).

      209. In 2009, Rollins and the Administrative Committee maintained the

Goldman Sachs Mid Cap Value A fund even though an identical, less costly, and

higher-yielding fund was available and would have been a more prudent choice for

                                           47
the Plan’s trust and participants/beneficiaries. Exhibit 2, Meeting Minutes, pp. 4.

      210. Rollins and the Administrative Committee ignored an identical, less

costly, and higher-yielding fund available as an alternative to the Goldman Sachs

Mid Cap Value A fund more than 60 times, even though the alternative fund

appeared on the same page as the Goldman Sachs Mid Cap Value A fund’s

prospectus, was run by the same management company and had the same managers

with the same start dates.

      211. Rollins and the Administrative Committee failed to choose the lower-

cost, higher-yielding and better performing identical and related fund share class

(Goldman Sachs Mid Cap Value Instl) with cost 0.74% vs. 1.14% and yield 0.80%

vs. 0.43% (data in prospectuses from www.sec.gov/edgar for 2016).

      212. Rollins and the Administrative Committee followed Waggoner’s

advice when it chose the more costly Goldman Sachs Mid Cap Value A fund to

generate revenue sharing, instead being directly billed by Prudential for its services.

Exhibit 2, Meeting Minutes, pp. 13-14.

      213. Rollins and the Administrative Committee’s reliance on Waggoner’s

advice was not reasonably justified under the circumstances.

      214. Rollins and the Administrative Committee should have conducted an

independent, thorough, and impartial investigation into the basis for the decision to

invest in the more costly Goldman Sachs Mid Cap Value A fund.


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      215. Had Rollins and the Administrative Committee investigated the basis

for the decision to invest in the more costly Goldman Sachs Mid Cap Value A fund,

Rollins and the Administrative Committee would have known that the decision to

invest in the more costly Goldman Sachs Mid Cap Value A fund was not in the best

interest of the Plan’s participants and beneficiaries.

      216. In choosing the more costly Goldman Sachs Mid Cap Value A fund,

Rollins and the Administrative Committee breached their duty to act with a degree

of care that could be expected under all circumstances by reasonable beneficiaries

and participants.

      217. In choosing the more costly Goldman Sachs Mid Cap Value A fund,

Rollins and the Administrative Committee failed to adhere to the DOL regulations

mandating that a decision to make an investment may not be influenced by [other]

factors unless the investment, when judged solely on the basis of its economic value

to the plan, would be equal or superior to alternative investments available to the

plan.” Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19,

1988).

      218. Rollins and the Administrative Committee’s decision in choosing the

more costly Goldman Sachs Mid Cap Value A fund cost the Plan’s trust, and thus

the Plan’s participants/beneficiaries at least $168,000 annually.

      219. Furthermore, the identical “True No-Load” Goldman Sachs Mid Cap


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Value Instl fund made 27.81% more (1.854% per year) over 15 years than Rollins

and the Administrative Committee’s selected fund.

      220. This means that Rollins and the Administrative Committee’s choice of

the more costly Goldman Sachs Mid Cap Value A fund caused the Plan’s

participants/beneficiaries to lose a chance to make the net difference of 1.604% each

year. On average, this cost the participants/beneficiaries $168,144.42 each year

($1,177,010.93 in total).

      221. In failing to consider and select the less costly Goldman Sachs Mid Cap

Value Instl fund, Rollins and the Administrative Committee acted imprudently.

      222. Rollins and the Administrative Committee’s failure to consider and

select the less costly Goldman Sachs Mid Cap Value Instl fund was a breach of its

fiduciary duty.

      223. Rollins and the Administrative Committee also failed to disclose the

existence of the less costly Goldman Sachs Mid Cap Value Instl fund to the Plan’s

participants/beneficiaries.

      224. Rollins and the Administrative Committee’s failure to disclose the

existence of the less costly Goldman Sachs Mid Cap Value Instl fund to the Plan’s

participants/beneficiaries was a breach of the Administrative Committee’s duty to

disclose.

      225. Rollins and the Administrative Committee failed to switch from the


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American Funds Growth Fund of Amer A to the identical, but less costly alternative

R6 shares of this fund, even though the A share class was mentioned more than 26

times in the Administrative Committee Meeting Minutes.

      226. Between 2009 and 2018, Rollins and the Administrative Committee

failed to timely switch from the American Funds Europacific Growth R4 to the

identical, but less costly R6 Fund.

      227. Rollins and the Administrative Committee did not switch to the R6

Fund until after reviewing the Nordstrom lawsuit in 2018, even though the R6 Fund

was mentioned more than 20 times in the Administrative Committee Meeting

Minutes.

      228. Rollins and the Administrative Committee did not switch from the

Victory Sycamore Established Value A to the identical, but less costly R6 Fund until

after reviewing two lawsuits in 2017. Exhibit 2, Meeting Minutes, pp. 149-150.

      229. The Administrative Committee failed to timely add less costly index

funds to the Plan. See, e.g. Exhibit 2, Meeting Minutes, p. 32 (index funds were not

added despite one Committee member’s proposal to do so; “Mr. Anthony

recommended that the Committee consider adding an index fund to the bond

category. The index option has low expense ratios and will give the baby boomers

another option in the category.”) The Committee failed to act for five years until

2015 when the Vanguard Total Bond Market Index fund was finally added.


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                 E. Damages Caused by Defendants’ Violations

      230. Rollins and its Administrative Committees actions described above

cause the Plan’s trust more than an estimated $50,000,000 in damages.

      231. In addition to damages described supra, Rollins and the Administrative

Committee’s votes and actions in retaining and following the advice of Waggoner

and his AIS team members caused more than $7,000,000 in damages due to the

selection of the Oakmark Equity and Income fund to replace the Dodge & Cox

Balanced fund.

      232. Rollins and its Administrative Committees wasted the Plan’s

participants/beneficiaries’ biweekly contributions into funds with unnecessary fund

managers charging more than 1% in expense ratios and transaction costs every year,

which cost an estimated $3,091,939 in lost opportunity annually.

                          VII. CAUSES OF ACTION

                                    COUNT I

 Action under 29 U.S.C. §§ 1132(a)(2) and (3) for Breach of Duties of Loyalty
  and Prudence for Imprudent and Disloyal Monitoring of Plan Investments
   during the Class Period, which Caused Losses to the Plan and Plaintiffs
 (Violation of 29 U.S.C. § 1104 by Rollins, the Administrative Committee and
                           the Committee Members)

      233. Plaintiffs restate and incorporate in Count I the allegations contained in

paragraphs 1 through 232.




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      234. At all relevant times, Rollins, the Administrative Committee and the

Committee Members were named fiduciaries pursuant to ERISA § 402(a)(1), 29

U.S.C. §1102(a)(1), or de facto fiduciaries within the meaning of ERISA, §

3(21)(A), 29 U.S.C. §1002(21)(A), or both, who exercised authority and control with

respect to the management of the Rollins Plan and Plan assets.

      235. Rollins, the Administrative Committee and the Committee Members

were obligated to discharge their duties with respect to the Plan with the care, skill,

prudence, and diligence under the circumstances then prevailing that a prudent man

acting in a like capacity and familiar with such matters would use in the conduct of

an enterprise of like character and with like aims. ERISA § 404(a)(1)(B), 29 U.S.C.

§ 1104(a)(1)(B).

      236. Rollins, the Administrative Committee and the Committee Members

were obligated to, among other things, select prudent investment options, eliminate

imprudent options, evaluate the merits of the Plan’s investments on an ongoing basis,

monitor Plan investments and remove any investments that they determined were

not prudent, defray reasonable expenses of administering the Plan, and take all

necessary steps to ensure that the Plan assets were invested prudently.

      237. In making investment decisions for or on behalf of the Plan, Rollins,

the Administrative Committee and the Committee Members were required to

consider all relevant factors under the circumstances, including without limitation


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alternative investments that were available to the Plan, the CSP’s financial interest

in placing the Plan assets in funds that paid out revenue sharing, and whether the

higher costs of actively managed funds were justified by a realistic expectation of

higher returns.

      238. Rollins, the Administrative Committee and the Committee Members

breached their duties of loyalty and prudence by failing to implement a prudent

procedure for evaluating, selecting, and monitoring Plan investment options.

      239. Rollins, the Administrative Committee and the Committee Members

breached their duties of prudence and loyalty by failing to monitor Plan investment

options during the Class Period, in particular the : Alger Mid Cap Growth

Institutional I; American Funds Capital World Gr&Inc R4; American Funds

EuroPacific Growth R4; American Funds Growth Fund of Amer R4; Franklin

Growth Adv; Goldman Sachs Mid Cap Value A; Hartford MidCap Y; Metropolitan

West Total Return Bd Plan; Morgan Stanley Inst Discovery I; Oakmark Equity and

Income Investor; T. Rowe Price New Horizons; Victory Diversified Stock A;

Victory Sycamore Established Value A; Victory Sycamore Small Company Opp I.

      240. Rollins, the Administrative Committee and the Committee Members

breached their duties of loyalty and prudence by selecting and maintaining Plan

investment options despite the fact that they knew or reasonably should have known

that said Plan investment options were unreasonably expensive when compared to


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readily available less expensive comparable and better performing fund options and

included fees that were not incurred solely for the benefit of Plan participants and

beneficiaries.

      241. Rollins, the Administrative Committee and the Committee Members

knew or should have known that revenue sharing and other kickback payments were

paid by the Plan to Prudential and the CSPs, that such payments were not reasonable

compensation for any actual services provided by Prudential and the CSPs, but rather

were merely quid pro quo kickback payments for including Plan investment options

(including funds listed in Paragraph 237) in the menu of funds made available to

Plan participants and beneficiaries.

      242. Defendants’ preferential treatment and improper monitoring processes

during the Class Period included but were not limited to:

                 A. Allowing Prudential and other conflicted CSPs to improperly

                    influence fund selection and retention decisions.

                 B. Adopting a monitoring process that relied upon subjective

                    opinions of conflicted fiduciaries and CSPs to determine whether

                    to remove a fund,

                 C. Selecting and retaining for years Plan investment options with

                    unreasonable expenses and poor performance relative to other

                    investment options that were readily available to the Plan such


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                   as low cost passively managed funds or the least expensive

                   available share class of actively managed funds with a long-

                   standing history of outperformance.

                D. Including investment funds with expense ratios far in

                   excess of other options available to the Plan, such as

                   institutional share class mutual funds and collective trust

                   funds, and

                E. Providing numerous actively managed funds with much higher

                   fees compared to index funds, which resulted in significant

                   underperformance to lower-cost higher-performing investment

                   alternatives that were readily available and appropriate.

      243. Rollins, the Administrative Committee and the Committee Members

failed to adequately, prudently, and loyally consider alternatives that were identical

(same manager, same management company, same holdings; the only difference is

the daily costs levied that burdens the trust and participants/beneficiaries) to the

funds listed in Paragraph 239, supra, at all relevant times during the Class Period.

      244. By their actions and omissions in causing these funds listed in

Paragraph 239, supra, to be added and retained as options in the Plan, Rollins, the

Administrative Committee and the Committee Members breached their duties of

loyalty and prudence.


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      245. Rollins, the Administrative Committee and the Committee Members

further breached their duties of loyalty and prudence by selecting and continuing to

offer Plan investment options despite the fact that they knew or reasonably should

have known that the performance of the Plan investment options was inferior to the

performance of both actively and passively managed funds within the same stated

indices that were significantly less expensive.

      246. An appropriate investigation into the merits of the funds listed in

Paragraph 237, in particular the impact of excessive fees charged by the funds listed

in Paragraph 237 had on the Plan participants’ and beneficiaries’ retirement savings,

would have shown the ready availability of far less expensive options with

comparable and often better performance.          Such an investigation would have

revealed to a reasonably prudent fiduciary that the funds listed in Paragraph 237

were imprudent and were causing the Plan to waste tens of millions of dollars of the

Plan’s participants’ and beneficiaries’ retirement savings.

      247. But for Rollins, the Administrative Committee and the Committee

Members’ breaches, different funds with better performance and lower fees would

have been selected for the Plan.

      248. Rollins, the Administrative Committee and the Committee Members’

breaches in the selection and retention of the funds listed in Paragraph 237 caused

millions of dollars in losses to the Plan and Plaintiffs.


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      249. Had Rollins, the Administrative Committee and the Committee

Members not breached their duties of loyalty and prudence, the losses suffered by

the Plan and Plaintiffs would have been minimized or avoided. Therefore, as a direct

and proximate result of the breaches of fiduciary duty alleged herein, the Plan and

Plaintiffs and other Class Members lost tens of millions of dollars of retirement

savings.

      250. Total losses will be determined at trial after complete discovery in this

case and are continuing.

      251. Each Committee Member is personally liable under 29 U.S.C. §§

1109(a) and 1132(a)(2) to make good to the Plan all losses to the Plan resulting from

the breaches of fiduciary duty alleged in this Count and is subject to other equitable

or remedial relief as appropriate. Each Committee Member also is personally liable

under 29 U.S.C. §§ 1109(a) and 1132(a)(3) to make good to Plaintiffs the losses they

suffered as a result of Rollins, the Administrative Committee and the Committee

Members’ breach of fiduciary duty.

      252. Rollins, the Administrative Committee and the Committee Members

knowingly participated in the breach of the other Defendants, knowing that such acts

were a breach, enabled the other Defendants to commit a breach by failing to

lawfully discharge its own fiduciary duties, knew of the breach by the other

Defendants and failed to make any reasonable effort under the circumstances to


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remedy the breach. Thus, each Defendant is liable for the losses caused by the breach

of his/her co-fiduciary duties under 29 U.S.C. §1105(a).

                                         COUNT II
        Action under 29 U.S.C. §§ 1132(a)(2) and (3) for Breach of Duties of
       Loyalty and Prudence for Imprudent and Disloyal Monitoring of Plan
       Service Providers during the Class Period, which Caused Losses to the
          Plan and Plaintiffs (Violation of 29 U.S.C. § 1104 by Rollins, the
             Administrative Committee and the Committee Members)

      253. Plaintiffs restate and incorporate in Count II the allegations in

paragraphs 1 through 232.

      254. At all relevant times, Rollins, the Administrative Committee and

the Committee Members were fiduciaries within the meaning of ERISA, 29

U.S.C. §1002(21)(A), by exercising authority and control with respect to the

management of the Plan and Plan assets.

      255. As fiduciaries to the Plan, Rollins, the Administrative Committee and

the Committee Members were required to administer the Plan and manage Plan

assets for the sole and exclusive benefit of Plan participants and beneficiaries, defray

reasonable expenses of administering the Plan, and to act with the care, skill,

diligence, and prudence required by ERISA.

      256. Rollins, the Administrative Committee and the Committee Members

had an ongoing duty to loyally and prudently select and periodically monitor Plan

CSPs, to solicit bids from other providers to ensure that the fees and costs incurred


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by the Plan were competitive and reasonable, and to replace any CSPs that they

determined were not prudent.

      257. Rollins, the Administrative Committee and the Committee Members

breached their duty ongoing duty to loyally and prudently select and periodically

monitor Plan service providers, to solicit bids from other providers, and to replace

any providers that they determined were not prudent.

      258. More specifically, Rollins, the Administrative Committee and the

Committee Members breached their fiduciary duties by failing to engage in a prudent

process for selecting and retaining Prudential as the Plan’s recordkeeper. Rollins,

the Administrative Committee and the Committee Members failed to: monitor the

amount of the revenue sharing and other sources of compensation received by

Prudential, determine if those amounts were competitive or reasonable for the

services provided to the Plan, or use the Plan’s size to reduce fees or obtain sufficient

rebates to the Plan for the excessive fees paid by participants. Moreover, Rollins, the

Administrative Committee and the Committee Members failed to solicit bids from

competing providers on a flat per-participant fee basis. As the Plan’s assets grew,

the asset-based revenue sharing payments to Prudential grew accordingly, even

though the services provided by Prudential did not increase at a similar rate. This

caused the recordkeeping compensation paid to Prudential to exceed a reasonable

fee for the services provided, which continues to date.


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      259. Rollins, the Administrative Committee and the Committee Members’

breach of their duties caused them to unreasonably overpay for recordkeeping

services to the Plan, to increase costs for the Plan and Plaintiffs, and to significantly

reduce the retirement benefits in Plaintiffs’ accounts. This conduct was a breach of

fiduciary duty.

      260. Total losses will be determined at trial after complete discovery in this

case and are continuing.

      261. Each Committee Member is personally liable under 29 U.S.C.

§§1109(a) and 1132(a)(2) to make good to the Plan all losses to the Plan resulting

from the breaches of fiduciary duty alleged in this Count and is subject to other

equitable or remedial relief as appropriate. Each Committee Member also is

personally liable under 29 U.S.C. §§ 1132(a)(3) and 1109(a) to make good to the

Plaintiffs the losses they suffered due to the excessive fees as alleged above.

      262. Rollins, the Administrative Committee and the Committee Members

knowingly participated in the breach of the other Defendants, knowing that such acts

were a breach, enabled the other Defendants to commit a breach by failing to

lawfully discharge its own fiduciary duties, knew of the breach by the other

Defendants and failed to make any reasonable effort under the circumstances to

remedy the breach. Thus, each Defendant is liable for the losses caused by the breach

of its co-fiduciary under 29 U.S.C. §1105(a).


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                                   COUNT III

        Action under 29 U.S.C. §§ 1132(a)(2) and (3) for Breach of Duties of
       Loyalty and Prudence for Imprudent and Disloyal Monitoring of Plan
       Fiduciaries during the Class Period, which Caused Losses to the Plan
            and Plaintiffs (Violation of 29 U.S.C. § 1104 by Rollins, the
             Administrative Committee and the Committee Members)

      263. Plaintiffs restate and incorporate in Count II the allegations in

paragraphs 1 through 232.

      264. At all relevant times, Rollins, the Administrative Committee and the

Committee Members were fiduciaries within the meaning of ERISA, 29 U.S.C.

§1002(21)(A), by exercising authority and control with respect to the management

of their respective Plan and Plan assets, by exercising authority and control with

respect to appointment, removal (if necessary) of other Plan fiduciaries, and

monitoring those fiduciaries.

      265. Under ERISA, 29 U.S.C. §1104, an appointing fiduciary has an

ongoing obligation to monitor the actions of fiduciaries which he or she appoints to

ensure that the appointed fiduciaries are performing their fiduciary obligations,

including those with respect to the investment of plan assets and the administration

of the plan, and to take prompt and effective action to protect the plan and

participants when they are not. In addition, a monitoring fiduciary must provide the

other fiduciaries with accurate information in its possession that it knows or




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reasonably should know that the other fiduciaries must have in order to prudently

manage the plan and its assets.

      266. A monitoring fiduciary must ensure that the monitored fiduciaries are

performing their fiduciary obligations, including those with respect to the investment

and holding of plan assets, and must take prompt and effective action to protect the

plan and participants when they are not.

      267. To the extent any of the Rollins, the Administrative Committee and the

Committee Member Defendants’ fiduciary responsibilities were delegated to

another fiduciary, and/or to the extent that any of the Rollins, the Administrative

Committee and the Committee Members Defendants acted in lieu of or with the

authorization of an appointing fiduciary, their monitoring duty included an

obligation to ensure that any delegated tasks were being performed prudently and in

the exclusive interest of participants.

      268. Rollins, the Administrative Committee and the Committee Members

breached their fiduciary monitoring duties by, among other things:

          a. Failing to monitor its appointees, to evaluate their performance, or to

             have a system in place for doing so, and standing idly by as the Plan

             suffered enormous losses as a result of its appointees’ imprudent

             actions and omissions with respect to the Plan;




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b. Failing to monitor its appointees’ fiduciary process, which would have

   alerted any prudent fiduciary to the potential breach because of the

   excessive administrative and investment management fees in violation

   of ERISA;

c. Failing to ensure that the monitored fiduciaries had a prudent process

   in place for evaluating the Plan’s administrative and investment

   management fees and ensuring that the fees were competitive,

   including a process to identify and determine the amount of all sources

   of compensation to the Plan’s service providers and the amount of any

   revenue sharing payments;

d. Failing to have a process to prevent the recordkeeper from receiving

   revenue sharing that would increase the recordkeeper’s compensation

   to unreasonable levels even though the services provided remained the

   same;

e. Failing to have a process to periodically obtain competitive bids to

   determine the market rate for the services provided to the Plan;

f. Failing to ensure that the monitored fiduciaries considered the ready

   availability of comparable and better performing investment options

   that charged significantly lower fees and expenses than the Plan’s

   investments;


                               64
          g. Failing to perform sufficient due diligence in selecting and retaining

             James Bashaw and Sean Waggoner as a Code 27 Investment Advisors

             to the Plan; and

          h. Failing to remove appointees whose performance was inadequate in

             that they continued to maintain imprudent, excessively costly, and

             poorly performing investments, all to the detriment of Plan participants’

             retirement savings.

      269. As a direct and proximate result of these breaches of fiduciary duty, the

Plan, and indirectly Plaintiffs and other participants, lost tens of millions of dollars.

      270. Total losses will be determined at trial after complete discovery in this

case and are continuing.

      271. Each Committee Defendant is personally liable under 29 U.S.C.

§§1109(a) and 1132(a)(2) to make good to the Plan all losses to the Plan resulting

from the breaches of fiduciary duty alleged in this Count and is subject to other

equitable or remedial relief as appropriate. Each Committee Defendant also is

personally liable under 29 U.S.C. §§ 1132(a)(3) and 1109(a) to make good to the

Plaintiffs the losses they suffered due to the excessive fees as alleged above.

      272. Rollins, the Administrative Committee and the Committee Members

knowingly participated in the breach of the other Defendants, knowing that such acts

were a breach, enabled the other Defendants to commit a breach by failing to


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lawfully discharge its own fiduciary duties, knew of the breach by the other

Defendants and failed to make any reasonable effort under the circumstances to

remedy the breach. Thus, each Defendant is liable for the losses caused by the breach

of its co-fiduciary under 29 U.S.C. §1105(a).

                                    COUNT IV
          Liability for Failing to Remedy Breach of Predecessor Fiduciaries
                             (against Committee Members)

      273. Plaintiffs restate and incorporate in Count IV the allegations in

paragraphs 1 through 232.

      274. At all relevant times, Committee Members were fiduciaries within the

meaning of ERISA, 29 U.S.C. §1002(21)(A), by exercising authority and control

with respect to the management of the Plan and Plan assets, by exercising authority

and control with respect to appointment, removal (if necessary) of other Plan

fiduciaries, and monitoring those fiduciaries.

      275. A fiduciary has a continuing duty to remedy breaches of predecessor

fiduciaries, including breaches in the selection of investments and service providers.

      276. Prior to the inception of the Class Period, Plan fiduciaries selected the

following funds for the Plan: Alger Mid Cap Growth Institutional I; American Funds

Capital World Gr&Inc R4; American Funds EuroPacific Growth R4; American

Funds Growth Fund of Amer R4; Franklin Growth Adv; Goldman Sachs Mid Cap

Value A; Morgan Stanley Inst Discovery I; Oakmark Equity and Income Investor;

                                         66
T. Rowe Price New Horizons; Victory Diversified Stock A; Victory Sycamore Small

Company Opp I.

      277. These funds were imprudently disloyally selected. They were chosen

because their presence in the Plan financially benefited Prudential and its affiliates.

They were also chosen with no consideration of alternatives, despite the fact that

Plan fiduciaries knew at the time that there were many better performing and lower

cost alternatives that were superior choices for the Plan and Plan participants. The

Plan’s fiduciaries, thus, breached their duties in selecting these funds for the Plan.

      278. One or more of the Committee Members are successor fiduciaries to

those fiduciaries who selected those funds.

      279. The Committee Members were aware that their predecessor fiduciaries

had breached their duties in selecting the funds.

      280. The Committee Members breached their duties under ERISA by failing

to take adequate steps to remedy, within the Class Period, their predecessors’

breaches in selecting the funds referenced in this Count. Such steps could have

included a full, unbiased, review of the suitability of the funds for the Plan, and

consideration of replacing them with appropriate alternative investments.

      281. As a result of the Administrative Committee Members’ breaches, the

Plan, Plaintiff, and other participants lost tens of millions of dollars.




                                           67
      282. Total losses will be determined at trial after complete discovery in this

case and are continuing.

      283. Each Committee Member is personally liable under 29 U.S.C.

§§1109(a) and 1132(a)(2) to make good to the Plan all losses to the Plan resulting

from the breaches of fiduciary duty alleged in this Count and is subject to other

equitable or remedial relief as appropriate. Each Committee Member Defendant also

is personally liable under 29 U.S.C. §§ 1132(a)(3) and 1109(a) to make good to the

Plaintiffs the losses they suffered due to the excessive fees as alleged above.

      284. Each Committee Member knowingly participated in the breach of the

other Defendants, knowing that such acts were a breach, enabled the other

Defendants to commit a breach by failing to lawfully discharge its own fiduciary

duties, knew of the breach by the other Defendants and failed to make any reasonable

effort under the circumstances to remedy the breach. Thus, each Defendant is liable

for the losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                        COUNT V
      Action Based on Prohibited Transactions Between the Plan and Party in
          Interest (Violation of 29 U.S.C. § 1106 by Committee Members)

      285. Plaintiffs restate and incorporate the allegations contained in

paragraphs 1 through 232.

      286. ERISA prohibits transactions between a plan and a “party in interest,”

and provides as follows: “[A] fiduciary with respect to a plan shall not cause the plan

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to engage in a transaction, if he knows or should know that such transaction

constitutes a direct or indirect – …furnishing of goods, services, or facilities between

the plan and a party in interest[.]” 29 U.S.C. §1106(a)(1).

      287. Congress defined “party in interest” to include employers, other

fiduciaries, and service providers.

      288. As a service provider to the Plan, Prudential is a party in interest. 29

U.S.C. §1002(14)(B). So, too, are broker dealers and investment advisors to the Plan.

      289. Committee Members were involved in causing the Plan to use

conflicted service providers which recommended investments that were detrimental

to the Plan and trusts and harmed participants.

      290. By causing the Plan to use these investment advisors from year to year,

whose services were not necessary and whose fees taken directly from the trusts

were not reasonable, Committee Members caused the Plan to engage in transactions

that they knew or should have known constituted the transfer to, or use by or for the

benefit of a party in interest, assets of the plan, in violation of 29 U.S.C.

§1106(a)(1)(D).

      291. By causing the Plan to use these investment advisors from year to year,

Committee Members failed to monitor appointees at least quarterly and caused the

Plan to offer inappropriate share classes and investments while also failing to

diversify the Plan’s investments so as to minimize the risk of large losses, in


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violation of 29 U.S.C. §1104(a)(1)(C).

      292. Under 29 U.S.C. §1109(a), these Defendants are liable to restore all

losses suffered by the Plan as a result of these prohibited transactions and to disgorge

or provide restitution of all revenues received by Prudential and their subsidiaries

from the fees and revenue sharing payments paid by the Plan to these entities, as

well as other appropriate equitable or remedial relief.

      293. Each Committee Member knowingly participated in these transactions,

enabled the other Defendants to engage in these transactions on an ongoing basis,

and failed to make any reasonable effort under the circumstances to remedy or

discontinue these prohibited transactions. Thus, under 29 U.S.C. §1105(a), each

Defendant is liable for restoring all proceeds and losses attributable to these

transactions.

                                         COUNT VI
      Action Based on Prohibited Transactions Between the Plan and Party in
        Interest (Violation of 29 U.S.C. § 1106) (Against Defendants Alliant
         Insurance Services, LLC; Alliant Retirement Services, Inc.; LPL
                                   Financial LLC)

      294. Plaintiffs restate and incorporate the allegations contained in

paragraphs 1 through 232.

      295. ERISA prohibits transactions between a plan and a “party in interest,”

and provides as follows: “[A] fiduciary with respect to a plan shall not cause the plan

to engage in a transaction, if he knows or should know that such transaction

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constitutes a direct or indirect – …furnishing of goods, services, or facilities between

the plan and a party in interest[.]” 29 U.S.C. §1106(a)(1).

      296. Congress defined “party in interest” to include employers, other

fiduciaries, and service providers.

      297. As service providers to the Plan, Prudential is a party in interest. 29

U.S.C. §1002(14)(B). So, too, are broker dealers and investment advisors to the Plan

like Alliant Insurance Services, LLC, Alliant Retirement Services, Inc., and LPL

Financial LLC.

      298. Defendants Alliant Insurance Services, LLC Alliant Retirement

Services, Inc. and LPL Financial LLC were involved in causing the Plan to use

conflicted service providers which recommended investments that were detrimental

to the Plan and trusts and harmed participants.

      299. By causing the Plan to use these investment advisors from year to year,

whose services were not necessary and whose fees taken directly from the trusts

were not reasonable, Defendants Alliant Insurance Services, LLC Alliant Retirement

Services, Inc. and LPL Financial LLC caused the Plan to engage in transactions that

they knew or should have known constituted the transfer to, or use by or for the

benefit of a party in interest, assets of the plan, in violation of 29 U.S.C.

§1106(a)(1)(D).

      300. By causing the Plan to use these investment advisors from year to year,


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Defendants Alliant Insurance Services, LLC Alliant Retirement Services, Inc. and

LPL Financial LLC failed to monitor appointees at least quarterly and caused the

Plan to offer inappropriate share classes and investments while also failing to

diversify the Plan’s investments so as to minimize the risk of large losses, in

violation of 29 U.S.C. §1104(a)(1)(C).

      301. Under 29 U.S.C. §1109(a), Defendants Alliant Insurance Services,

LLC Alliant Retirement Services, Inc. and LPL Financial LLC are liable to restore

all losses suffered by the Plan as a result of these prohibited transactions and to

disgorge or provide restitution of all revenues received by Prudential and their

subsidiaries from the fees and revenue sharing payments paid by the Plan to these

entities, as well as other appropriate equitable or remedial relief.

      302. Each Defendant knowingly participated in these transactions, enabled

the other Defendants to engage in these transactions on an ongoing basis, and failed

to make any reasonable effort under the circumstances to remedy or discontinue

these prohibited transactions. Thus, under 29 U.S.C. §1105(a), each Defendant is

liable for restoring all proceeds and losses attributable to these transactions.


                          VIII. PRAYER FOR RELIEF

      For these reasons, Plaintiffs, on behalf of the Plan and all similarly situated

Plan participants and beneficiaries, respectfully request that this Court:



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   a) Certify this action as a class action pursuant to Fed. R. Civ. P. 23, appoint

the Plaintiff as class representative, and appoint Paul J. Sharman, Esq. of The

Sharman Law Firm LLC as Class Counsel;

   b) Issue an order removing Defendants from their positions of fiduciary

responsibility with respect to the Plan;

   c) Issue an order compelling Defendants to make good to the Plan all losses to

the Plan resulting from Defendants’ fiduciary breaches, including lost return on

investments and payment of investment management fees;

   d) Order equitable restitution, disgorgement of all fees paid, and other

appropriate equitable monetary relief against Defendants;

   e) Award Plaintiffs and the class their attorneys’ fees and costs pursuant to

ERISA, 29 U.S.C. §1132(g) and/or the Common Fund doctrine; order the

Defendants to pay to the Plan the amount equaling all sums received by Prudential

as a result of recordkeeping, revenue sharing, and investment management fees;

   f) award a surcharge against Defendants and in favor of the Plaintiffs under §

502(a)(3) and the Plan under § 502(a)(2) based on their breaches of fiduciary duty;

   g) order the payment of interest to the extent it is allowed by law; and

   h) grant such other equitable or remedial relief as the Court deems appropriate.

      Respectfully submitted this 31st day of December 2021.




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/s/ Paul J. Sharman
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